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                                                     u.s. Department of Justice
                                                     United States Attorney
                                                     District of Connecticut

                                                     Connecticut Financial Center                                 (203) 821-3700
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                                                     New Haven, Connecticut 06510                     1V1I'111. justice. gov/usaolc/




                                                     April 17,2013

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Gary Weinberger, Esq.                                                                               l':":J            '-'-I
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Assistant Federal Defender
10 Columbus Boulevard, 6th Floor                                                        OJ
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Hartford, CT 06016-1976
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               Re:     United States v. Evan Chaggaris                                         --j                N
                       Criminal No. 3:13CR 7 7                   (RNC)                                            N


Dear Mr. Weinberger:

       This letter confirms the plea agreement between your client, Evan Chaggaris (the
"defendant"), and the United States Attorney's Office for the District of Connecticut (the
"Government" or "this Office") concerning the referenced criminal matter.

THE PLEA AND OFFENSE

       The defendant agrees to waive indictment and plead guilty to a one-count information
charging him with mailing threatening communications, in violation of Title 18, United States
Code, Section 876(c). He understands that, to be guilty of this offense, the following essential
elements of the offense must be satisfied:

       1.      The defendant mailed, for delivery by the United States Postal Service, a
               communication addressed to another person;

       2.      The communication contained a threat to injure a person; and

       3.      The defendant acted knowingly and willfully.

THE PENALTIES

        This offense carries a maximum penalty of five years of imprisonment and a $250,000 fine.
In addition, under 18 U.S.C. § 3583, the Court may impose a term of supervised release of not
more than three years year to begin at the expiration of any term of imprisonment. The defendant
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understands that, should he violate any condition of the supervised release, he may be required to
serve a further term of imprisonment of up to two years with no credit for time already spent on
supervised release.

        The defendant also is subject to the alternative fine provision of 18 U.S.C. § 3571. Under
this section, the maximum fine that may be imposed on the defendant is the greatest of the
following amounts: (1) twice the gross gain to the defendant resulting from the offense; (2) twice
the gross loss resulting from the offense; or (3) $250,000.

      In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special assessment of
$100 on the count of conviction.

        Finally, unless otherwise ordered, should the Court impose a fine of more than $2,500 as
part of the sentence, interest will be charged on the unpaid balance of the fine not paid within 15
days after the judgment date. 18 U.S.C. § 3612(f). Other penalties and fines may be assessed on
the unpaid balance of a fine pursuant to 18 U.S.C. §§ 3572 (h), (i) and § 3612(g).

Restitution

         In addition to the other penalties provided by law, the Court may also order that the
defendant make restitution under 18 U.S.C. § 3663, and the Government reserves its right to seek
restitution on behalf of victims consistent with the provisions of § 3663.

THE SENTENCING GUIDELINES

       Applicability

       The defendant understands that the Court is required to consider any applicable Sentencing
Guidelines as well as other factors enumerated in 18 U.S.c. § 3553(a) to tailor an appropriate
sentence in this case and is not bound by this plea agreement. The defendant agrees that the
Sentencing Guideline determinations will be made by the Court, by a preponderance of the
evidence, based upon input from the defendant, the Government, and the United States Probation
Office. The defendant further understands that he has no right to withdraw his guilty plea if his
sentence or the Guideline application is other than he anticipated, including if the sentence is
outside any of the ranges set forth in this agreement.

       Acceptance of Responsibility

        At this time, the Government agrees to recommend that the Court reduce by two levels the
defendant's adjusted offense level under § 3E1.1(a) of the Sentencing Guidelines, based on the
defendant's prompt recognition and affirmative acceptance of personal responsibility for the
offense. The defendant expressly understands that the Court is not obligated to accept the
Government's recommendations on the reductions.

      The above-listed recommendations are conditioned upon the defendant's affirmative
demonstration of acceptance of responsibility, by (1) truthfully admitting the conduct comprising


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the offense(s) of conviction and truthfully admitting or not falsely denying any additional relevant
conduct for which the defendant is accountable under Sentencing Guideline § IB1.3, and (2)
truthfully disclosing to the Probation Office personal information requested, including the
submission of a complete and truthful financial statement detailing the defendant's financial
condition.

         In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance of responsibility if the defendant engages in any acts, unknown to the Government
at the time of the signing of this agreement, which (1) indicate that the defendant has not
terminated or withdrawn from criminal conduct or associations (Sentencing Guideline § 3El.l);
(2) could provide a basis for an adjustment for obstructing or impeding the administration of
justice (Sentencing Guideline § 3C 1.1); or (3) constitute a violation of any condition of release.
Moreover, the Government reserves the right to seek denial of the adjustment for acceptance of
responsibility if the defendant seeks to withdraw his plea of guilty or takes a position at sentencing,
or otherwise, which, in the Government's assessment, is inconsistent with affirmative acceptance
of personal responsibility. The defendant understands that he may not withdraw his plea of guilty
if, for the reasons explained above, the Government does not make one or both of the
recommendations or seeks denial of the adjustment for acceptance of responsibility.

         Stipulation

        Pursuant to § 6B 1.4 of the Sentencing Guidelines, the defendant and the Government have
entered into a stipulation, which is attached to and made a part of this plea agreement. The
defendant understands that this stipulation does not set forth all of the relevant conduct and
characteristics that may be considered by the Court for purposes of sentencing. The defendant
understands that this stipulation is not binding on the Court. The defendant also understands that
the Government and the United States Probation Office are obligated to advise the Court of any
additional relevant facts that subsequently come to their attention.

        Guidelines Stipulation

        The parties agree as follows:

       The Guidelines Manual in effect on the date of sentencing is used to determine the
applicable Guidelines range.

         The defendant's base offense level under U.S.S.G. § 2A6.1 is 12. Two levels are added
pursuant to U.S.S.G. § 2A6.1(b)(2) to reflect the fact that the defendant made more than two
threats. Two levels are subtracted under U.S.S.G. § 3El.l for acceptance of responsibility, as
noted above, resulting in a total offense level of 12.

       Based on an initial assessment, the parties agree that the defendant falls within Criminal
History Category I. The parties reserve the right to recalculate the defendant's Criminal History
Category and corresponding sentencing ranges if this initial assessment proves inaccurate.

       A total offense level 12, assuming a Criminal History Category I, would result in a range of


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10 to 16 months of imprisonment (sentencing table) and a fine range of$3,000 to $30,000,
U.S.S.G. § SE1.2(c)(3).

      The defendant reserves his right to seek a departure or non-Guidelines sentence, and the
Government reserves its right to object and seek whatever sentence it deems appropriate.

         The defendant expressly understands that the Court is not bound by this agreement on the
Guideline ranges specified above. The defendant further understands that he will not be
permitted to withdraw the plea of guilty if the Court imposes a sentence outside any of the ranges
set forth in this agreement.

        In the event the Probation Office or the Court contemplates any sentencing calculations
different from those stipulated by the parties, the parties reserve the right to respond to any
inquiries and make appropriate legal arguments regarding the proposed alternate calculations.
Moreover, the Government expressly reserves the right to defend any sentencing determination,
even if it differs from that stipulated by the parties, in any post-sentencing proceeding.

       Appeal Rights Regarding Sentencing

       The parties reserve their respective rights to appeal and to oppose each other's appeal of the
sentence imposed as permitted by 18 U.S.c. § 3742.

       Information to the Court

          The Government reserves its right to address the Court with respect to an appropriate
sentence to be imposed in this case. Moreover, the Government will discuss the facts of this case,
including information regarding the defendant's background and character, 18 U.S.C. § 3661, with
the United States Probation Office and will provide the Probation Officer with access to material in
its file, with the exception of grand jury material.

WAIVER OF RIGHTS

       Waiver of Right to Indictment

        The defendant understands that he has the right to have the facts of this case presented to a
federal grand jury, consisting of between sixteen and twenty-three citizens, twelve of whom would
have to find probable cause to believe that he committed the offense set forth in the information
before an indictment could be returned. The defendant acknowledges that he is knowingly and
intelligently waiving his right to be indicted.



       The defendant understands that he has the right to be represented by an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represent him.

       The defendant understands that he has the right to plead not guilty or to persist in that plea


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if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
not to be compelled to incriminate himself, and the right to compulsory process for the attendance
of witnesses to testify in his defense. The defendant understands that by pleading guilty he
waives and gives up those rights and that, if the plea of guilty is accepted by the Court, there will
not be a further trial of any kind.

        The defendant understands that, ifhe pleads guilty, the Court may ask him questions about
each offense to which he pleads guilty, and ifhe answers those questions falsely under oath, on the
record, and in the presence of counsel, his answers may later be used against him in a prosecution
for perjury or making false statements.

       Waiver of Statute of Limitations

         The defendant agrees that, should the conviction following defendant's plea of guilty
pursuant to this plea agreement be vacated for any reason, then any prosecution that is not
time-barred by the applicable statute oflimitations on the date of the signing of this plea agreement
(including any indictment or counts the Government has agreed to dismiss at sentencing pursuant
to this plea agreement) may be commenced or reinstated against defendant, notwithstanding the
expiration of the statute of limitations between the signing of this plea agreement and the
commencement or reinstatement of such prosecution. The defendant agrees to waive all defenses
based on the statute of limitations with respect to any prosecution that is not time-barred on the
date the plea agreement is signed.

ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

        The defendant acknowledges that he is entering into this agreement and is pleading guilty
freely and voluntarily because he is guilty. The defendant further acknowledges that he is
entering into this agreement without reliance upon any discussions between the Government and
him (other than those described in the plea agreement letter), without promise of benefit of any
kind (other than the concessions contained in the plea agreement letter), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges his understanding of
the nature of the offense to which he is pleading guilty, including the penalties provided by law.
The defendant also acknowledges his complete satisfaction with the representation and advice
received from his undersigned attorney. The defendant and his undersigned counsel are unaware
of any conflict of interest concerning counsel's representation of the defendant in the case.

SCOPE OF THE AGREEMENT

        The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to him with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges that this agreement has been reached without
regard to any civil tax matters that may be pending or which may arise involving him.


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COLLATERAL CONSEQUENCES

         The defendant further understands that he will be adjudicated guilty of the offense to which
he has pleaded guilty and will be deprived of certain rights, such as the right to vote, to hold public
office, to serve on a jury, or to possess firearms. The defendant understands that pursuant to
section 203(b) of the Justice For All Act, the Bureau of Prisons or the Probation Office will collect
a DNA sample from the defendant for analysis and indexing. Finally, the defendant understands
that the Government reserves the right to notify any state or federal agency by which he is licensed,
or with which he does business, as well as any current or future employer of the fact of his
conviction.

SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

         The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut for mailing threatening communications via
the United States mail, which forms the basis of the information in this case.

        The defendant understands that if, before sentencing, he violates any term or condition of
this agreement, engages in any criminal activity, or fails to appear for sentencing, the Government
may void all or part of this agreement. If the agreement is voided in whole or in part, defendant
will not be permitted to withdraw his plea of guilty.

NO OTHER PROMISES

        The defendant acknowledges that no other promises, agreements, or conditions have been
entered into other than those set forth in this plea agreement, and none will be entered into unless
set forth in writing, signed by all the parties.




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This letter shall be presented to the Court, in open court, and filed in this case.


                                               Very truly yours,

                                               DAVID B. FEIN
                                               UNITED STATES ATTORNEY



                                               PAUL H. McCONNELL
                                               ASSISTANT U.S. ATTORNEY




The defendant certifies that he has read this plea agreement letter and its attachment(s) or has had it

with counsel and that he fully understands and accepts its terms.                1I   I
read or translated to him, that he has had ample time to discuss this agreement and its attachment(s)




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      I have thoroughly read, reviewed and explained this plea agreement and its attachment(s)
to my li nt who advises me that he understands and accepts its terms.



(Jf.1Y~ WEINBERGER, " . .                                                      Date
AJ/tORNEY FOR THE DEFENDANT




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                           STIPULATION OF OFFENSE CONDUCT

      The defendant Evan Chaggaris and the Government stipulate to the following offense
conduct that gives rise to the defendant's agreement to plead guilty to the information:

        Between September 25,2011, and June 8, 2012, the defendant made numerous threats to
injure sportscasters at ESPN, a sports programming television network located in Bristol,
Connecticut. The defendant made these threats by sending handwritten letters to ESPN through
the United States Postal Service. The defendant sent approximately twenty-four separate letters
to ESPN during the time period specified above.

        On February 15, 2012, for instance, the defendant deposited in the mail, for delivery by the
United States Postal Service, a handwritten letter addressed to ESPN Programming at 935 Middle
Street, Bristol, Connecticut, 06010. In the letter, the defendant threatened to injure at least two
ESPN sportscasters. The defendant knowingly sent this letter to ESPN through the United States
mail.

        The written stipulation above is incorporated into the preceding plea agreement. The
defendant and the Government reserve their right to present additional relevant offense conduct to
the attention of the Court in connection with sentencing.




EV AN CHA  ARIS                                       PAUL H. McCONNELL
THE DEFENDANT                                         ASSISTANT U.S. ATTORNEY




                                                      ASSISTANT U.S. ATTORNEY




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                             RIDER CONCERNING RESTITUTION

       The Court shall order that the defendant make restitution under 18 U.S.C. § 3663A. The
order of restitution may include:

 1. If the offense resulted in damage to or loss or destruction of property of a victim of the
    offense, the order of restitution shall require the defendant to:

    A. Return the property to the owner of the property or someone designated by the owner; or

    B. Ifreturn of the property is impossible, impracticable, or inadequate, pay an amount equal to:

        The greater of -
        (1) the value of the property on the date of the damage, loss, or destruction; or

        (II) the value of the property on the date of sentencing, less the value as ofthe date the
        property is returned.

2. In the case of an offense resulting in bodily injury to a victim -

        A. pay an amount equal to the costs of necessary medical and related professional services
        and devices related to physical, psychiatric, and psychological care; including non-medical
        care and treatment rendered in accordance with a method of healing recognized by the law
        of the place of treatment;

        B. pay an amount equal to the cost of necessary physical and occupational therapy and
        rehabilitation; and

        C. reimburse the victim for income lost by such victim as a result of such offense;

3. In the case of an offense resulting in bodily injury that results in the death of the victim, pay an
   amount equal to the cost of necessary funeral and related services; and

4. In any case, reimburse the victim for lost income and necessary child care, transportation, and
   other expenses incurred during participation in the investigation or prosecution of the offense
   or attendance at proceedings related to the offense.

         The order of restitution has the effect of a civil judgment against the defendant. In
addition to the court-ordered restitution, the court may order that the conditions of its order
of restitution be made a condition of probation or supervised release. Failure to make
restitution as ordered may result in a revocation of probation, or a modification of the
conditions of supervised release, or in the defendant being held in contempt under 18
U.S.C. § 3583(e). Failure to pay restitution may also result in the defendant's re-sentencing
to any sentence which might originally have been imposed by the Court. See 18 U.S.c.
§§ 3614; 3613A. The Court may also order that the defendant give notice to any victim(s)
of his offense under 18 U.S.C. § 3555.


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